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                   Nos. 17-2083 & 17-2095
            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE TENTH CIRCUIT

                      HIGH DESERT RELIEF, INC.,
                  a New Mexico Non-Profit Corporation,

                                             Plaintiff-Appellant

                                        v.

                    UNITED STATES OF AMERICA,
            through its agency the Internal Revenue Service,

                                             Defendant-Appellee

                      ORAL ARGUMENT REQUESTED

    ON APPEAL FROM THE ORDERS OF THE UNITED STATES
     DISTRICT COURT FOR THE DISTRICT OF NEW MEXICO
                 Nos. 1:16-CV-469 & 1:16-cv-816
                 JUDGE CHRISTINA ARMIJO
                        No. 1:16-cv-1255
                JUDGE WILLIAM P. JOHNSON

                          BRIEF FOR THE APPELLEE

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                    STATEMENT OF RELATED CASES

        Pursuant to Tenth Circuit Rule 28.2(C)(1), counsel for the United

  States state that, to the best of their knowledge, there are no prior or

  related cases in this Court.




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                                  GLOSSARY

  Acronym                  Definition

  CSA                      Controlled Substances Act, 21 U.S.C. § 801, et
                           seq.

  I.R.C.                   Internal Revenue Code of 1986, 26 U.S.C.




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             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE TENTH CIRCUIT

                             Nos. 17-2083 & 17-2095

                       HIGH DESERT RELIEF, INC.,
                   a New Mexico Non-Profit Corporation,

                                              Plaintiff-Appellant

                                         v.

                    UNITED STATES OF AMERICA,
            through its agency the Internal Revenue Service,

                                              Defendant-Appellee

                      ORAL ARGUMENT REQUESTED

     ON APPEAL FROM THE ORDERS OF THE UNITED STATES
      DISTRICT COURT FOR THE DISTRICT OF NEW MEXICO
                  Nos. 1:16-cv-469 & 1:16-cv-816
                  JUDGE CHRISTINA ARMIJO
                         No. 1:16-cv-1255
                 JUDGE WILLIAM P. JOHNSON

                          BRIEF FOR THE APPELLEE


                    STATEMENT OF SUBJECT MATTER
                     AND APPELLATE JURISDICTION

         During an investigation into the federal tax liabilities of High

   Desert Relief, Inc., a New Mexico medical marijuana dispensary, the

   Internal Revenue Service issued summonses for information from four



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   third parties: the New Mexico Department of Health – Medical

   Cannabis Program (App. 38–45); My Bank (App. 19–27); the Public

   Service Company of New Mexico (Supp. App. 17–30); and Southwest

   Capital Bank (App. 515–24).1 High Desert Relief thereafter filed in the

   United States District Court for the District of New Mexico three timely

   petitions to quash the summonses pursuant to 26 U.S.C. (I.R.C.)

   § 7609(b)(2). (App. 3–125, 502–603; Supp. App. 1–97.) The District

   Court had jurisdiction pursuant to I.R.C. § 7609(h)(1).

         In the District Court, the cases arising out of the petitions

   challenging the summonses to the New Mexico Department of Health,

   My Bank, and the Public Service Company of New Mexico were

   consolidated before Chief Judge Armijo. (App. 156–57.) The United

   States subsequently filed a notice informing the court that it did not

   seek to enforce the summons issued to the New Mexico Department of

   Health, after it obtained the summoned documents in response to a



         1 “App.” references are to the documents contained in appellant’s

   appendix, filed with its brief. “Supp. App.” References are to the
   documents contained in the appendix to this brief. “Br.” references are
   to appellant’s brief. “Section” or “§” references are to the Internal
   Revenue Code of 1986, unless otherwise provided.



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   public records request. (App. 248–50.) The court thereafter denied the

   petitions challenging the summonses to My Bank and the Public

   Service Company of New Mexico (App. 424–45) and entered an order

   enforcing the summons that had been issued to My Bank (App. 446–

   49).2 After denying a motion for stay filed by High Desert (App. 488–

   91), the court granted judgment to the United States (App. 492).

         High Desert’s petition challenging the summons to Southwest

   Capital Bank was filed while the other summons proceedings were

   already pending in the District Court. This case was not consolidated

   with the other summons proceedings and was assigned to Judge

   William Johnson, rather than Chief Judge Armijo. After learning of the

   other pending summons proceedings, the court ordered the parties to

   show cause why the case should not be consolidated with the other

   proceedings. (App. 677–79). During the pendency of this motion, Chief

   Judge Armijo entered the order denying the petitions to quash as to My

   Bank and the Public Service Company of New Mexico. Relying on



         2 As noted at pp. 22–23 n.5 and 25 n.6, the Government is not at
   this time seeking an enforcement order regarding the summons to the
   Public Service Company of New Mexico.



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   Judge Armijo’s order, Judge Johnson dismissed the petition to quash

   the summons to Southwest Capital Bank (App. 711–14) and entered an

   order enforcing that summons (App. 730).

         High Desert filed timely notices of appeal from the District Court’s

   orders in each case. (App. 493–94; 731–32, 877–78.) See 28 U.S.C.

   § 2107(b); Fed. R. App. P. 4(a)(1)(B). This Court’s jurisdiction rests

   upon 28 U.S.C. § 1291.

                          STATEMENT OF THE ISSUE

         Whether the District Court abused its discretion in denying the

   petitions to quash the summonses, or clearly erred in ordering

   enforcement of the summonses, where the United States established a

   prima facie case in support of each of the summonses and High Desert

   failed to meet its heavy burden of establishing bad faith or any

   improper purpose.

                          STATEMENT OF THE CASE

         A.    Procedural background

         High Desert Relief filed three petitions to quash four summonses

   that the IRS issued in connection with its investigation into High

   Desert’s federal tax liabilities for its fiscal years ending June 30, 2014

   and June 30, 2015. (App. 3–125, 502–603; Supp. App. 1–97.) High


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   Desert first petitioned to quash summonses issued to (1) the New

   Mexico Department of Health – Medical Cannabis Program and (2) My

   Bank (App. 3–125), and the United States moved to dismiss (App. 131–

   45). Thereafter, High Desert filed a second petition, which sought to

   quash a summons issued to the Public Service Company of New Mexico,

   the local electric company. (Supp. App. 1–97.) The District Court

   consolidated that case with the previously-filed summons proceeding

   (App. 156–57), and the United States filed a second motion to dismiss

   directed to the newly filed petition (App. 165–245). The Government

   also moved for enforcement of the summonses. (Id.) After the filing of

   the second motion to dismiss, the United States informed the court that

   it would not seek to enforce the summons to the New Mexico

   Department of Health, because it had received the summoned material

   through a public records request. (App. 248–50.) Because the United

   States relied upon matters outside the pleadings, the District Court

   converted the motions to dismiss to motions for summary judgment.

   (App. 309–11.) The court subsequently denied the petitions to quash

   (App. 424–45) and granted judgment to the United States (App. 492).




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   The court also ordered enforcement of the summons to My Bank.

   (App. 446–47.)

         High Desert Relief filed a final petition to quash, which challenged

   a summons issued to Southwest Capital Bank, during the pendency of

   the motion to dismiss in the consolidated cases. (App. 502 – 603.) After

   the court entered its order denying the petitions to quash relating to My

   Bank and the Public Service Company of New Mexico, it entered an

   order denying the petition to quash relating to Southwest Capital Bank.

   (App. 711–14). The court thereafter issued an order enforcing the

   summons to Southwest Capital Bank. (App. 730.)

         High Desert timely appealed to this Court, which consolidated the

   cases.

         B.    Factual statement

         This appeal arises out of an IRS examination into the federal

   income tax liabilities of High Desert Relief, Inc., a New Mexico medical

   marijuana dispensary, for its fiscal years ending June 30, 2014 and

   June 30, 2015. (App. 186–87, 193–94, 237.) It is one of the latest in a

   string of challenges to the IRS’s authority to conduct examinations into




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   the federal tax liabilities of state-sanctioned marijuana businesses.3 In

   particular, these and similar cases dispute the IRS’s authority to

   investigate the applicability of I.R.C. § 280E, which provides:

         No deduction or credit shall be allowed for any amount paid
         or incurred during the taxable year in carrying on any trade
         or business if such trade or business (or the activities which
         comprise such trade or business) consists of trafficking in
         controlled substances (within the meaning of schedule I and
         II of the Controlled Substances Act) which is prohibited by
         Federal law or the law of any State in which such trade or
         business is conducted.

               1.    The examination into High Desert and the
                     issuance of the summonses

         High Desert Relief, Inc., is currently being audited by the Internal

   Revenue Service relating to its fiscal years ending June 30, 2014 and

   June 30, 2015. (App. 236–37.) This entity is involved in the New


         3 See, e.g., Green Solution Retail, Inc. v United States, 855 F.3d

   1121 (10th Cir. 2017); Alpenglow Botanicals, LLC v. United States,
   No. 16-cv-258, 2016 WL 7856477 (D. Colo. Dec. 1, 2016), appeal
   pending, No. 17-1223 (10th Cir. filed Jun. 28, 2017); Nutritional
   Elements, Inc., et al. v. United States, No. 1:17-MC-00052 (D. Colo.
   Apr. 18, 2017), appeal pending, No. 17-1212 (10th Cir. filed Jun. 19,
   2017); Nutritional Elements, Inc., et al. v. United States, No. 1:16-mc-
   00188 (D. Colo. filed Sept. 20, 2016); Green Solution, LLC, et al. v.
   United States, No. 1:16-mc-00167 (D. Colo. filed Aug. 8, 2016); Speidell
   v. United States, No. 1:16-mc-00162 (D. Colo. filed Jul. 29, 2016); Green
   Solution Retail, Inc., et al. v. United States, No. 1:16-mc-00137 (D. Colo.
   filed Jun. 27, 2016).



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   Mexico medical marijuana industry (App. 237), and a principal focus of

   the examination has been whether its business activities implicate

   Section 280E.

         New Mexico law allows the “use of medical cannabis in a

   regulated system for alleviating symptoms caused by debilitating

   medical conditions and their medical treatments.” N.M. Stat. Ann.

   § 26-2B-2 (West 2017). Consistent with this mandate, medical

   marijuana practitioners and licensed producers are exempt from state

   criminal and civil penalties related to their respective roles in the

   medical marijuana industry. Id. §§ 26-2B-3–26-2B-4.4 Such businesses,

   however, are subject to a variety of licensing and application

   requirements administered by the New Mexico Department of Health,

   Medical Cannabis Program. N.M. Code R. § 7.34.4.1, et seq.

   (West 2017).




         4 Under New Mexico law, a practitioner is defined to mean a

   person “licensed to prescribe and administer drugs that are subject to
   the [New Mexico] Controlled Substances Act,” while the term licensed
   producer refers to those persons and entities “determine[d] to be
   qualified to produce, possess, distribute and dispense cannabis.” N.M.
   Stat. Ann. § 26-2B-3 D., E. (West 2017).



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         The examination into High Desert began in February 2016, when

   IRS Revenue Agent Lisa Turk provided written notice that its 2014 tax

   return had been selected for examination. (App. 186–87.) In this

   initial notice, the revenue agent identified cost of goods sold, gross

   receipts, and total deductions as preliminary issues of inquiry.

   (App. 186–87.) Along with the notice, the IRS provided High Desert

   with a copy of IRS Publication 1, Your Rights as a Taxpayer (Rev. 12-

   2014), available at https://www.irs.gov/pub/irs-pdf/p1.pdf. (Id.) This

   publication generally outlines the IRS’s examination procedures,

   specifying (inter alia) that, during an examination, the IRS will

   “sometimes talk with other persons if we need information that you

   have been unable to provide, or to verify information we have received.”

   Id.

         After failing to receive a response from High Desert by the date

   specified on the notice, Revenue Agent Turk telephoned one of High

   Desert’s shareholders and “proceeded to explain taxpayer’s rights as

   outlined in Publication 1.” (App. 340.) Consistent with the information

   set forth in the notice, she also informed the shareholder that the audit

   would begin with a focus on gross receipts, cost of goods sold, and all



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   other business expenses. (Id.) During this conversation, the

   shareholder informed the revenue agent that High Desert was a

   medical marijuana dispensary that only sells medical marijuana and

   marijuana-related products to qualified patients. (Id.)

         Revenue Agent Turk attempted to obtain further information

   directly from High Desert, but without success. (App. 237–39.) At the

   beginning of the examination, she sent an information document

   request relating to its 2014 tax year, in which she sought a variety of

   corporate records and tax-return materials, including inventory

   valuations, bank statements, work papers reconciling the corporate

   books to the tax returns, and information supporting deductions.

   (App. 190–92.) After the examination expanded to include High

   Desert’s fiscal year ending June 30, 2015 (App. 237), she both sent an

   information document request for that year, and re-sent the previously

   issued request for the fiscal year ending June 30, 2014 (App. 195–206).

   High Desert did not respond to either request. (App. 239.)

         In addition to issuing document requests, Revenue Agent Turk

   attempted to schedule an interview with a High Desert representative

   to discuss the tax years at issue and to tour the company facilities, but



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   without avail. (App. 237–39, 340–41.) High Desert objected to this

   investigation because of concerns surrounding Section 280E. (App. 60,

   63–64, 66–68, 70, 78 –80.) In particular, the company took the position

   that a determination that Section 280E applied would be tantamount to

   a finding of a criminal violation of the Controlled Substances Act (CSA),

   21 U.S.C. § 801, et seq. (Id.) High Desert stated that it would provide

   information only if the IRS agreed “to stipulate that all information

   gathered will be specifically for the examination of taxable objects

   under U.S. Code: Title 26 Internal Revenue Code, and that no

   information gathered can be applied to U.S. Code: Title 21 Controlled

   Substances Act, or any other federal title.” (App. 68.) In subsequent

   correspondence, High Desert repeated that it would only “furnish

   documentation . . . provided that we are given assurance from the IRS,

   that the IRS will use the information furnished for this civil audit, and

   not to support the IRS’s determination that the Taxpayer’s business

   consists of illegal activities.” (App. 79.) The IRS refused such a

   limitation, explaining that the IRS had authority to investigate whether

   Section 280E applied, and that it could not agree to High Desert’s

   proposed restrictions because of I.R.C. § 6103, which governs the



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   circumstances under which taxpayer material can be disclosed.

   (App. 82–85.) High Desert thereafter informed Revenue Agent Turk

   that it “would not answer any questions, provide any records, or provide

   . . . a tour of the business.” (App. 239.)

         In addition to its efforts to obtain information directly from High

   Desert, the IRS issued four summons to third parties for information

   bearing on the company’s 2014 and 2015 tax liabilities:

              First, the IRS issued a summons to My Bank on May 3,
               2016, requesting “all books, papers, records, and other data
               concerning all accounts in which” High Desert “is identified
               as having any ownership interests . . . or for which [it] is
               shown as the trustee, co-signer, guardian, custodian, or
               beneficiary.” (App. 19–27.)

              Second, on May 18, 2016, the IRS issued a summons to the
               New Mexico Department of Health – Medical Cannabis
               Program, seeking records relating to High Desert, including
               financial records, sales records, applications, ownership
               lists, product descriptions (both as to medical marijuana
               offerings, and non-medical marijuana products), and a
               description of the facilities. (App. 39–45.)

              Third, on June 24, 2016, the IRS issued a summons to the
               Public Service Company of New Mexico, the local electric
               company, requesting various information relating to High
               Desert, including applications for service and credit data,
               records showing the location of services provided, records
               showing installation dates or dates of operation, and billing
               statements. (App. 222–23.)

              Fourth, on October 27, 2016, the IRS issued a summons to
               Southwest Capital Bank, seeking the same types of bank


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                account information as requested from My Bank. (App.
                626.)

   On the same day that the IRS served each of the summonses, it

   provided to High Desert and its designated power of attorney a notice of

   the summons, a copy of the applicable summons, and an explanation of

   High Desert’s right to bring a proceeding to quash the summons.

   (App. 224, 228, 232, 240–242, 623, 628.)

               2.    Summons proceedings relating to New
                     Mexico Department of Health, My Bank, and
                     Public Service Company of New Mexico

                     a.    First petition to quash and motion to
                           dismiss

         High Desert filed a petition to quash the summonses to the New

   Mexico Department of Health and My Bank, asserting that neither

   satisfied United States v. Powell, 379 U.S. 48 (1964), which sets forth

   the requirements for the enforcement of an IRS summons. (App. 3–17.)

   In this regard, High Desert claimed that the summonses had not been

   issued for a legitimate purpose, but rather as part of a “pseudo-criminal

   investigation[ ] into the source of taxpayer income to . . . convict

   taxpayers of violating federal criminal drug laws and strangle an entire

   industry . . . .” (App. 10.) The company further contended that the IRS

   lacked authority “to determine whether taxpayers have violated federal


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   drug laws.” (App. 13.) High Desert also suggested that the summonses

   were a fishing expedition, noting that it had previously offered the

   summoned documents to the IRS. (App. 14.) Finally, High Desert

   contended that the IRS had provided insufficient notice under Powell,

   and that an evidentiary hearing was required to assess the IRS’s good

   faith. (App. 14–15.)

         The Government moved to dismiss this petition, arguing that the

   summonses satisfy the Powell test and “are a valid exercise of the

   government’s summons authority.” (App. 139.) The United States

   explained that, for a summons to be enforceable under Powell, it must

   show: (i) that the summons was issued for a legitimate purpose, (ii) that

   the information sought in the summons is relevant to that purpose,

   (iii) that the information sought is not already in the IRS’s possession,

   and (iv) that the administrative steps required by the Internal Revenue

   Code have been followed. (Id.) The United States argued that each of

   these requirements had been met. First, it asserted that the summons

   had been issued for a valid purpose – to determine the correctness of

   High Desert’s tax returns in accordance with I.R.C. § 7602(a). (Id.) The

   Government explained that the material summoned from My Bank was



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   relevant to ascertaining High Desert’s taxable income, while the

   material summoned from the New Mexico Department of Health was

   relevant to determine whether High Desert was involved in a business

   consisting of the trafficking of controlled substances within the meaning

   of I.R.C. § 280E. (App. 139–40.) The Government also noted that the

   summoned documents were not in its possession and that all

   administrative steps, including proper notice to taxpayer, had been

   followed. (App. 140.) Although the Government acknowledged that

   High Desert had offered bank records to Revenue Agent Turk subject to

   certain conditions, it contended that the IRS lacked authority to accept

   the documents subject to High Desert’s conditions. (App. 144.)

         In addition to arguing that the Powell requirements had been

   satisfied, the United States also rejected High Desert’s contentions that

   the IRS lacked authority to enforce Section 280E and that it was

   pursuing a pseudo-criminal investigation. (App. 141–42.) To the

   contrary, the Government explained that the “examination is being

   undertaken to determine the correctness of [High Desert’s] return” and

   that “the application of Section 280E is relevant” to this inquiry.

   (App. 143.)



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                     b.    Second petition to quash and motion to
                           dismiss

         On the same date as the Government filed its motion to dismiss

   the petition to quash the first two summonses, High Desert filed a

   petition to quash the third summons, the one issued to the Public

   Service Company of New Mexico. (Supp. App. 1–97.) High Desert

   premised this second petition on the same legal arguments as in the

   first (Supp. App. 1–14), and the cases were subsequently consolidated

   (App. 156–57). After consolidation, the United States moved to dismiss

   the new petition and to enforce the summons, supporting those motions

   with a declaration by Revenue Agent Lisa Turk. (App. 165–245.) As in

   its motion to dismiss High Desert’s first petition to quash, the

   Government maintained that the summons to the Public Service

   Company met the Powell requirements: (i) it was issued for the proper

   purpose to gather information on High Desert’s gross receipts for the

   years at issue (App. 173–74); (ii) the information sought – High Desert’s

   electricity bills and location information – was relevant to determine

   the number of High Desert’s facilities and the size of its marijuana crop,

   as would help to verify inventory and gross receipts (App. 179); (iii) the

   information sought was not in the Government’s possession (App. 180);


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   and (iv) Revenue Agent Turk’s declaration established that all

   administrative steps had been followed (App. 181).

         The Government’s second motion to dismiss also expanded on a

   few points addressed in its earlier motion. In particular, the United

   States explained that the IRS had authority to apply Section 280E,

   “which is not a criminal statute, but rather a provision of the Internal

   Revenue Code.” (App. 175.) The Government countered High Desert’s

   suggestion that the IRS was conducting a clandestine investigation into

   Controlled Substances Act violations, noting that High Desert offered

   no evidence for such a claim and that the claim had been refuted by

   Revenue Agent Turk’s declaration. (App. 177.) In connection with the

   relevance of the summons, the Government further pointed out that

   independently verifying inventory information for goods sold was

   critical in the marijuana industry, given that Section 280E eliminates

   credits or deductions for such businesses, but does not implicate a

   taxpayer’s recognition of its cost of goods sold. (App. 179.)

         In addition to seeking the dismissal of the petition to quash, the

   Government sought an order enforcing the summons. (App. 182–83.)

   The United States took the position that no hearing was required before



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   enforcement because High Desert had not adduced specific facts or

   circumstances plausibly raising an inference of bad faith. (App. 183.)

         High Desert thereafter filed a combined response to the

   Government’s motions to dismiss the petitions, in which it by-and-large

   repeated the legal arguments set forth in its petitions to quash.

   (App. 251–75.)5 In addition, High Desert asserted that the United

   States had failed to satisfy the requirement under Powell that it not

   have the summoned material in its possession, contending that the IRS

   either had the summoned records itself, or could have obtained them

   from High Desert. (App. 272.) High Desert also claimed that the

   Government did not satisfy the requirement under Powell that it

   satisfied all administrative steps, asserting that the IRS failed to

   provide adequate notice to High Desert before issuing a third party

   summons. (Id.) Finally, High Desert argued that an evidentiary

   hearing was required to sort through these matters. (App. 273–74.)



         5 Prior to the filing of this response, the Government filed a notice

   informing the Court that it would not seek to enforce the summons as to
   the New Mexico Department of Health because it had obtained the
   summoned documents by means of a public records request. (App. 248–
   50.)



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         The District Court subsequently entered an order stating that it

   would treat the Government’s motions to dismiss as motions for

   summary judgment, because each party had submitted evidentiary

   documents for the court’s consideration. (App. 309–11.) Given the

   nature of this ruling, the court gave the parties an opportunity to

   present additional material. (Id.) The Government did not file further

   material, but High Desert did. In particular, the company filed a

   supplemental pleading (App. 414–23), arguing, inter alia, that “the

   federal drug laws which the IRS seeks to enforce through Section 280E

   are a ‘dead letter’” (App. 419). Relying on Tank Truck Rentals v.

   Commissioner, 356 U.S. 30 (1958), and Sterling Distributors v.

   Patterson, 236 F. Supp. 479 (N.D. Ala. 1964), High Desert asserted that

   “the IRS cannot use the law to deny deductions” when “there is a public

   policy of non-enforcement of the law.” (App. 418.)

                     c.    The District Court’s denial of the
                           petitions to quash and enforcement of
                           the summons

         The District Court granted summary judgment to the Government

   and denied the petitions to quash. (App. 424–45.) As an initial matter,

   in the context of finding that the Government had waived its sovereign



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   immunity to allow this suit, the court rejected High Desert’s twin

   contentions that the summonses were beyond the scope of a civil

   examination and that Section 280E requires a finding of illegality under

   the Controlled Substances Act. (App. 431.) The court pointed out that

   Section 280E was not a criminal provision, but one that addressed

   allowable deductions. (Id.) The court further noted that this provision

   “does not first require a determination by a non-IRS government official

   conducting a criminal investigation that the party claiming a deduction

   is trafficking in controlled substances.” (Id.) The court accordingly

   concluded that the IRS could seek to apply Section 280E without

   conducting a criminal investigation, which was consistent with the

   holding of the District Court for the District of Colorado in Alpenglow

   Botanicals, LLC v. United States, No. 16-cv-00258, 2016 WL 7856477,

   at *3–4 (D. Colo. Dec. 1, 2016), appeal docketed, No. 17-1223 (10th Cir.

   Jun. 28, 2017). The District Court proceeded to quote at length from

   the court’s decision in Alpenglow, which observed that “[i]t certainly

   would be strange if the Internal Revenue Service was not charged with

   enforcing [§ 280E,]” given its location in the Internal Revenue Code,

   and that “Section 280E does not require that a criminal investigation be



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   pursued against a taxpayer, or even that § 280E only applies if a

   criminal conviction under the CSA has been obtained.” (App. 433,

   quoting Alpenglow, 2016 WL 7856477, at *3–4.)

         As the District Court put it (App. 433), “Section 280E is a civil

   statute, and an investigation into a suspected violation . . . requires no

   “outside,” “criminal,” or “pseudo-criminal” . . . determination or

   investigation of violations of the CSA.” The court further pointed out

   that, despite its characterization of the IRS’s investigation as criminal,

   High Desert “alleges no facts by which this Court could conclude that

   the IRS was investigating a purported violation of the CSA for purposes

   of a criminal investigation.” (App. 434.)

         The District Court then concluded that the Government had met

   its prima facie showing that it satisfied the factors set forth in Powell,

   379 U.S. at 57–58. (App. 435–44.) The court began its analysis by

   noting this Court’s observation that “the traditional summary judgment

   standards such as viewing the facts in [the non-movant’s] favor, do not

   apply” in the context of summons enforcement proceedings. (App. 435,

   quoting Villarreal v. United States, 524 F. App’x 419, 423 (10th Cir.

   2013).) To the contrary, once the Government establishes its prima



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   facie case that it acted in good faith in issuing the summons, the burden

   of proof rests squarely with the petitioner. (App. 435.) And the court

   explained that a petitioner is only entitled to a hearing where it points

   to specific facts plausibly raising an inference of bad faith. (App. 436.)

         The court held that the Government had established each of the

   Powell factors. The court first held that Revenue Agent Turk’s

   declaration demonstrated that the examination had a legitimate

   purpose, viz., to examine High Desert’s 2014 and 2015 federal tax

   liabilities. (App. 437.) The court also held that the declaration

   established the relevance of each of the documents to this legitimate

   purpose. (Id.) In particular, the court explained that the documents

   summoned from the New Mexico Department of Health would be used

   to determine whether High Desert was growing or selling marijuana,

   the records from the electric company would help to determine how

   much marijuana High Desert grew so as to substantiate gross receipts,

   and the documents from My Bank would be used to substantiate gross

   receipts. (Id.) The court further explained that Revenue Agent Turk’s

   declaration showed that the IRS did not have the documents in its




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   possession. (Id.)6 Finally, the court held that the declaration

   demonstrated that the IRS had given sufficient notice to High Desert,

   as it provided IRS Publication 1 at the start of the examination and

   notices of the summonses when they were served on the third parties.

   (App. 438.) The court also noted that the declaration established that

   no criminal referral was in effect, as required by Powell. (Id.)

         The court rejected High Desert’s arguments that the Government

   had failed to meet its burden under Powell. (App. 438–44.) As an

   initial matter, the court noted that most of High Desert’s arguments

   were directed to the legitimacy of the IRS’s purpose in issuing the

   summons, and “are premised on its position that the IRS may not

   investigate or determinate whether [High Desert] violated the CSA.”

   (App. 438.) The court explained that it had explicitly rejected that

   position earlier in its opinion, and thus “need not revisit this issue

   here.” (Id.) The court also rejected High Desert’s argument that its

   offer to provide some of the summoned documents to the IRS under


         6 The court noted that the Government had received a package in

   response to the summons from the Public Service Company of New
   Mexico, which the Government had not opened pending resolution of
   the petition to quash. (App. 437.)



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   certain conditions undermined the IRS’s position that it did not have

   possession of the documents it sought. (App. 438–39.) The court

   concluded that High Desert’s response was insufficient to rebut the

   United States’ showing, given that it “only offered to produce documents

   (and not necessarily the specific documents summoned) upon conditions

   with which the IRS could not lawfully comply.” (App. 439.) The court

   further rejected High Desert’s argument that it failed to receive proper

   notice before the IRS initiated the summons, explaining that IRS

   Publication 1 provided the notice required. (App. 439–41.)

         Finally, the District Court rejected High Desert’s argument that

   the enforcement of Section 280E would be improper because federal

   criminal drug laws governing marijuana have become a “dead letter,”

   particularly in light of state action in the area. (App. 441–44.) The

   court explained that High Desert relied on cases addressing a wholly

   different Code provision, and that the language in Section 280E did not

   permit the same conclusion in the instant case. (App. 443.) The court

   also observed that, in Feinberg v. Commissioner, 808 F.3d 813, 816

   (10th Cir. 2015), this Court recently had suggested that the federal

   criminal drug laws were not a dead letter. (App. 444.)



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         The District Court accordingly denied the petitions to quash

   (App. 444), entered a separate order enforcing the summons to My Bank

   (App. 446), and granted judgment to the United States (App. 492).7

               3.    Summons proceeding relating to Southwest
                     Capital Bank

          High Desert filed a third petition to quash in the District Court,

   challenging the IRS’s summons to Southwest Capital Bank. (App. 502–

   603.) This case was assigned to Judge Johnson of the District Court,

   rather than Chief Judge Armijo, who heard the other summons

   proceedings. The United States filed a motion to dismiss (App. 605–21)

   supported by a declaration from Revenue Agent Turk (App. 622–24), in

   which she indicated that she sought information from the bank to

   substantiate the gross receipts and income information reported on

   High Desert’s returns for the years at issue (App. 623). In their

   pleadings relating to this motion, the parties reprised the same

   arguments previously made in the other summons proceeding.


         7 In its opinion, the court also stated that, if the documents

   previously sent by Public Service Company of New Mexico to Revenue
   Agent Turk (which she had not opened given the pending petition to
   quash) are not responsive, the Government could also seek an order
   enforcing that summons. (App. 444.)



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   Subsequently, the court entered a sua sponte order, requiring the

   parties to show cause why the case should not be consolidated with the

   other summons proceeding. (App. 677–79.) While this show-cause

   order was still pending, Chief Judge Armijo issued her opinion denying

   the petition to quash the summonses to the New Mexico Department of

   Health, My Bank, and the Public Service Company of New Mexico.

   (App. 680–703.) After reviewing this opinion, Judge Johnson found that

   “Chief Judge Armijo addressed all of the arguments [High Desert]

   makes in the petition to quash in this case” and that, for reasons of

   judicial economy, he would adopt that analysis as the court’s in the

   summons proceeding before him. (App. 713.) The court accordingly

   denied High Desert’s petition to quash (App. 711–14) and entered an

   order enforcing the summons (App. 730).

                          SUMMARY OF ARGUMENT

         The IRS issued four administrative summonses seeking

   information concerning High Desert’s tax liabilities for its fiscal years

   ending June 30, 2014 and June 30, 2015. The petitions to quash, and

   the United States’ motions to enforce the summonses are governed by

   the factors set forth by the Supreme Court in United States v. Powell,



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   379 U.S. 48 (1964). More specifically, Powell requires the United States

   to make a prima facie showing that (i) the summons was issued for a

   legitimate purpose, (ii) the summoned records may be relevant to that

   purpose, (iii) the records are not already in the IRS’s possession, and

   (iv) the administrative steps required by the Internal Revenue Code

   have been followed.

         As the District Court found here, the United States satisfied the

   Powell requirements. The United States first demonstrated that the

   summonses were issued for the legitimate purpose of determining High

   Desert’s federal tax liabilities for its fiscal years ending June 30, 2014

   and June 30, 2015. The Government next showed that the information

   sought from each of the third parties was relevant to determining the

   tax liabilities, in particular by substantiating gross receipts and income

   information. The United States also established that it did not have the

   documents in its possession. And the United States demonstrated that

   High Desert had been given proper notice that the IRS might contact

   third parties during the course of the examination. In addition to

   satisfying its prima facie burden under Powell, the Government further

   established that no referral to the Department of Justice was in effect



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   with respect to High Desert or either of its shareholders for the tax

   periods being examined – a showing required by I.R.C. § 7602(d).

         As the Government made its prima facie showing under Powell,

   High Desert bore a heavy burden to rebut the presumption of good

   faith. High Desert failed to carry this burden, as the District Court

   correctly held. On appeal, High Desert argues that the IRS’s

   investigation was illegitimate because the IRS purportedly does not

   have the authority to enforce or investigate under Section 280E. This

   Court previously has rejected this argument in the Anti-Injunction Act

   context, Green Solution Retail, Inc. v. United States, 855 F.3d 1111,

   1121 (10th Cir. 2017), and the Court’s ruling on that point applies just

   as strongly in the summons context.

         High Desert raises two other challenges to the District Court’s

   finding that the Powell factors had been satisfied, but neither is

   persuasive. Specifically, High Desert contends that the IRS failed to

   show that it did not have the information sought already in its

   possession. High Desert asserts that the Government had access to the

   information sought, based on its offer to provide some information, with

   multiple strings attached. As an initial matter, there is no dispute that



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   the IRS did not have the documents sought at the time the summonses

   were issued. This is dispositive. Further, the IRS’s decision not to

   accept High Desert’s offer did not suggest bad faith, as the conditions

   High Desert sought to impose conflicted with the disclosure regime

   governing the IRS and were a clear attempt to thwart any investigation

   into the applicability I.R.C. § 280E. High Desert also claims that the

   IRS failed to comply with all required administrative steps, the fourth

   factor in Powell. The IRS, however, provided sufficient advance notice

   to satisfy I.R.C. § 7602(c) by transmitting IRS Publication 1, which

   explains that, during an examination, the IRS will “sometimes talk with

   other persons if we need information that you have been unable to

   provide, or to verify information we have received.”

         Finally, High Desert concocts a rule that purportedly limits

   provisions disallowing deduction for violations of laws to apply only

   where the law being violated is actively enforced. High Desert pulls

   this “dead letter” rule from thin air. It has no support in the text of

   Section 280E, and High Desert cannot limit an investigation into that

   provision. Furthermore, Section 280E is not conditioned on a criminal

   conviction or a violation of the Controlled Substances Act, and a



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   purported rule that depended on the degree of enforcement of that Act

   thus would be irrelevant. Finally, there is no such thing as the “dead

   letter” rule. The single district court case on which High Desert relies

   for its purported rule was a fact-specific interpretation of a common-law

   exception to the business expense deduction, and has no broader

   relevance.

          The orders of the District Court should be affirmed.

                                  ARGUMENT

          The District Court correctly refused to quash the IRS
          summons, because the United States established a
          prima facie case for enforcement and High Desert
          Relief did not meet its heavy burden to show an abuse
          of process or a lack of institutional good faith

                               Standard of review

          This Court reviews a district court’s refusal to quash an IRS

   summons for abuse of discretion. Hopkins v. I.R.S., 318 F. App’x 703,

   705 (10th Cir. 2009); Sugarloaf Funding, LLC v. U.S. Dep’t of Treasury,

   584 F.3d 340, 346 (1st Cir. 2009). It will reverse the decision to enforce

   an IRS summons only for clear error. United States v. Coopers &

   Lybrand, 550 F.2d 615, 620 (10th Cir. 1977); Hopkins, 318 F. App’x at

   705.




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         High Desert’s discussion of the standard for review of a summary

   judgment motion ignores authority governing summary judgment in the

   summons context. (Br. 12–13, 29–30.) As this Court has held, “the

   traditional summary judgment standards such as viewing the facts

   in . . . favor [of the party opposing summary judgment], do not apply” in

   a summons case and the “burden [on a summons opponent once the

   Government makes its prima facie case through a Powell affidavit] ‘is

   significantly more stringent than that of a party opposing a motion for

   summary judgment.’” Villarreal v. United States, 524 F. App’x 419, 423

   (10th Cir. 2013) (quoting United States v. Kis, 658 F.2d 526, 543 (7th

   Cir. 1981)); see also Sugarloaf Funding, 584 F.3d at 350 (rejecting

   argument seeking to quash a summons based on Fed. R. Civ. P. 56);

   Alphin v. United States, 809 F.2d 236, 239 (4th Cir. 1987) (the

   “application of [Fed. R. Civ. P. 56 governing summary judgment] has

   reasonably been limited by cases holding that an affidavit averring the

   Powell good faith elements is sufficient to establish the government’s

   prima facie case.”).




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         A.    The IRS has broad summons authority

         Congress has conferred upon the Secretary of the Treasury the

   responsibility to make accurate determinations of tax liability and has

   given him broad authority to conduct investigations for that purpose.

   The Commissioner of Internal Revenue, as the Secretary’s delegate, is

   charged with the duty “to make the inquiries, determinations, and

   assessments of all taxes” imposed by the Internal Revenue Code. I.R.C.

   § 6201(a). See also I.R.C. §§ 6301, 7601.

         The summons power provided by Congress enables the

   Commissioner to discharge this investigative responsibility. Section

   7602 of the Code authorizes the Commissioner, “[f]or the purpose of

   ascertaining the correctness of any return, making a return where none

   has been made, [or] determining the liability of any person for any

   internal revenue tax, . . . [t]o examine any books, papers, records, or

   other data which may be relevant or material to such inquiry” and to

   summon any person to appear and produce such documents and to give

   relevant testimony. The courts have consistently held that Section 7602

   endows the IRS with expansive information-gathering authority in

   order to encourage effective tax investigations. See United States v.



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   Arthur Young & Co., 465 U.S. 805, 813–15 (1984); Church of Scientology

   v. United States, 506 U.S. 9, 15 n.8 (1992); United States v. Balanced

   Fin. Mgmt., Inc., 769 F.2d 1440, 1446 (10th Cir. 1985). See also 13

   Mertens Law of Fed. Income Taxation § 49B:32 (perm. ed., rev. 2011)

   (IRS has “wide latitude to summon information necessary for

   investigative purposes.”). This investigative authority “is not limited to

   situations in which there is probable cause, in the traditional sense, to

   believe that a violation of the tax laws exists.” United States v.

   Bisceglia, 420 U.S. 141, 146 (1975); United States v. Powell, 379 U.S. 48,

   51, 57 (1964). After all, “[t]he purpose of the statutes is not to accuse,

   but to inquire.” Bisceglia, 420 U.S. at 146. Accord United States v.

   Clarke, — U.S. —, 134 S. Ct. 2361, 2367 (2014).

         When a summoned party fails to comply with a summons, the IRS

   can bring an enforcement proceeding in a district court. I.R.C § 7604.

   Summons enforcement suits are “summary in nature.” Clarke, 134 S.

   Ct. at 2367. The United States need only make a “minimal” showing

   that the summons was issued in good faith, i.e., that (1) the

   investigation will be conducted pursuant to a legitimate purpose; (2) the

   information sought may be relevant to that purpose; (3) the information



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   sought is not already within the Commissioner’s possession; and (4) the

   administrative steps required by the Internal Revenue Code have been

   followed. Powell, 379 U.S. at 57–58; Codner v. United States, 17 F.3d

   1331, 1332 (10th Cir. 1994); Balanced Fin. Mgmt., 769 F.2d at 1443.

   The burden on the United States “is a slight one,” Balanced Fin. Mgmt.,

   769 F.2d at 1443 (citing Kis, 658 F.2d at 536), “because this is a

   summary proceeding,” Alphin, 809 F.2d at 238. Accord United States v.

   Stuart, 489 U.S. 353, 369 (1989). The United States generally makes

   this prima facie showing by an IRS affidavit. Codner, 17 F.3d at 1332-

   33; Balanced Fin. Mgmt., 769 F.2d at 1443.

         Once the United States has made this minimal showing, the

   burden shifts to the party opposing enforcement to rebut the good-faith

   presumption that arises in consequence of the United States’ prima

   facie case. Balanced Fin. Mgmt., 769 F.2d at 1444. This burden is a

   “heavy” one. Id. See also United States v. LaSalle Nat’l Bank, 437 U.S.

   298, 316 (1978). The party opposing the summons “must do more than

   just produce evidence that would call into question the Government’s

   prima facie case.” Balanced Fin. Mgmt., 769 F.2d at 1444 (citation

   omitted). See also United States v. Gertner, 65 F.3d 963, 967 (1st



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   Cir. 1995) (summons opponent must “create a substantial question in

   the court’s mind regarding the validity of the government’s purpose”)

   (quotation and citation omitted). The burden of proof rests “squarely”

   on the summons opponent, whose allegations are “insufficient if

   conclusionary.” Balanced Fin. Mgmt., 769 F.2d at 1444 (citations

   omitted). Unless the party challenging a summons can show that

   enforcement would “constitute an abuse of the court’s process, or that in

   issuing the summons the IRS lack[ed] institutional good faith,” the

   United States is entitled to enforcement of the summons. Anaya v.

   United States, 815 F.2d 1373, 1377 (10th Cir. 1987) (citations and

   internal marks omitted). See also United States v. Lanoie, 403 F. App’x

   328, 332 (10th Cir. 2010). Although the reviewing court must consider

   whether the summons was issued in good faith, it must “eschew any

   broader role of ‘oversee[ing] the [IRS’s] determinations to investigate.’”

   Clarke, 134 S. Ct. at 2367 (quoting Powell, 379 U.S. at 56) (alterations

   in original).

         Summonses issued to third parties concerning the tax liability of a

   taxpayer present the problem (from the taxpayer’s perspective) that the

   third party might not be sufficiently motivated to resist even an



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   improper summons. Accordingly, Congress has required that persons

   identified in the summons (usually including the taxpayer) be given

   notice of a third-party summons (I.R.C. § 7609(a)) and has given such

   persons (“noticees”) the right to petition the district courts to quash the

   summons (I.R.C. § 7609(b)(2)). In such a proceeding, the IRS can

   counterclaim for enforcement, or it can simply move to dismiss the

   petition to quash and rely on the summoned third party to comply with

   the summons. I.R.C. § 7609(b)(2)(A). Where the person seeking to

   quash the summons pleads a facially valid claim in a petition to quash,

   “the court is guided by the four-part test first enunciated” in Powell.

   Ponsford v. United States, 771 F.2d 1305, 1307 (9th Cir. 1985). See also

   Sugarloaf Funding, 584 F.3d at 345. If the United States makes its

   Powell showing, the person seeking to quash the summons must meet

   the same heavy burden that a summons opponent faces in an

   enforcement proceeding. Stoffels v. Hegarty, 267 F. App’x 814, 815

   (10th Cir. 2008); Crystal v. United States, 172 F.3d 1141, 1144 (9th Cir.

   1999); Sugarloaf Funding, 584 F.3d at 345–46.




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         B.    The United States established a prima facie case
               for denying the petitions to quash and for
               enforcement of the summons

         The District Court correctly held that the United States had

   established a prima facie case that the summonses were issued in good

   faith. As noted above, the United States generally satisfies this

   “minimal” burden by an affidavit from an IRS representative. Codner,

   17 F.3d at 1332-33; Balanced Fin. Mgmt., 769 F.2d at 1443.

         Revenue Agent Turk’s declarations plainly demonstrate that the

   summonses satisfy the factors set forth in Powell, 379 U.S. at 57–58, as

   the District Court held (App. 437–38). The declarations first

   demonstrate that the summonses were issued for a legitimate purpose,

   viz., as part of an examination to determine High Desert’s 2014 and

   2015 federal tax liabilities (App. 237, 623). See I.R.C. §§ 6201(a),

   7602(a).

         Moreover, each of the four summonses was relevant to the

   examination, as explained by Revenue Agent Turk. (App. 239–40, 623.)

   Specifically, she stated that the information sought from the New

   Mexico Department of Health would be used to determine whether High

   Desert is growing or selling marijuana and to substantiate gross



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   receipts and income information. (App. 240.) Revenue Agent Turk

   further stated the information sought from the Public Service Company

   of New Mexico about electricity use would help to determine the

   amount of marijuana grown during the years at issue, which, in turn,

   would substantiate gross receipts. (App. 239.) Revenue Agent Turk

   also stated that the bank account information sought from My Bank

   and Southwest Capital Bank would be used to substantiate gross

   receipts and income information. (App. 240, 623.)

         As to the third Powell factor, the declarations state that the IRS

   did not already possess the information sought, and had not received

   the documents from High Desert. (App. 237–38.)8

         Finally, as to the fourth Powell factor (that required

   administrative steps have been followed), Revenue Agent Turk’s

   declarations establish that proper notice was provided to High Desert.


         8 As the court explained, the United States ultimately obtained

   the information sought from the New Mexico Department of Health
   through a public records request, and therefore no longer sought to
   enforce that summons. (App. 437.) Moreover, Revenue Agent Turk
   stated in her declaration that she had received a package in response to
   her summons from the Public Service Company of New Mexico, which
   she would not open while the petition to quash remained pending.
   (App. 242.)



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   According to her declarations (App. 237, 238), she twice sent to High

   Desert a copy of IRS Publication 1, which outlines the examination

   process and specifies that the IRS will “sometimes talk with other

   persons if we need information that you have been unable to provide, or

   to verify information we have received.” IRS Publication 1, Your Rights

   as a Taxpayer (Rev. 12-2014), available at https://www.irs.gov/pub/irs-

   pdf/p1.pdf. Revenue Agent Turk further stated in her declaration that

   she mailed notices of each summons to High Desert via certified mail.

   (App. 240, 241–42, 623.)

         In addition to the requirements under Powell, I.R.C. § 7602(d)

   provides that no summons may issue if a Department of Justice referral

   is in effect. Both declarations also satisfy this requirement, stating that

   there was no “Department of Justice referral, as defined by 26 U.S.C.

   § 7602(d)” with respect to High Desert or either of its shareholders for

   the tax periods being examined. (App. 243, 624.)

         As the court correctly held, therefore, “the United States

   demonstrated a prima facie case that it acted in good faith as required

   by Powell.” (App. 438.)




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         C.    High Desert’s arguments are meritless

         Once the United States established its prima facie case, the

   burden then shifted to High Desert to refute that showing or set forth

   specific facts and evidence that the summonses were issued in bad faith

   or for an improper purpose. See Anaya, 815 F.2d at 1377; Balanced Fin.

   Mgmt., 769 F.2d at 1444. This burden is a “heavy” one. Id.; LaSalle

   Nat’l Bank, 437 U.S. at 316.

         On appeal, High Desert raises assorted challenges related to the

   Powell factors. High Desert claims that the IRS lacks authority to

   investigate and make a determination whether a taxpayer comes within

   the scope of Section 280E, i.e., whether its business consists of

   trafficking in controlled substances in violation of the Controlled

   Substances Act. (Br. 15–20.) High Desert next argues that it offered

   the IRS the summoned documents and that such documents should be

   considered “constructively in control” of the IRS. (Br. 11, 20–22.) High

   Desert further contends that the IRS failed to give proper advance

   notice of its third-party contacts, and thus did not satisfy all

   administrative steps, as required by Powell. (Br. 22 – 23.) Finally,

   High Desert argues that the federal criminal drug laws governing



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   marijuana sales are a “dead letter,” which, according to High Desert,

   “preclude[s] enforcement of the summons.” (Br. 23–29.) As discussed

   below, none of these arguments has merit, and none demonstrates any

   error by the District Court erred in denying the petitions to quash and

   enforcing the summonses.

         1.    High Desert argues at length “that the IRS may not

   investigate or make findings that [High Desert] violated federal drug

   laws” because “[s]uch an investigation is not part of the IRS’s tax

   administration authority.” (Br. 17. See also Br. 15–20.) According to

   High Desert, the “IRS has expertise only in the Tax Code, and has

   neither the knowledge [nor] the expertise to determine a violation of

   law outside of its jurisdiction.” (Br. 17.) High Desert further contends

   “there must be a threshold determination of a crime being committed”

   for Section 280E to apply (Br. 18), suggesting that the IRS’s

   examination here was merely a façade for a criminal investigation.

         As an initial matter, High Desert offers nothing but conjecture to

   support its view that the IRS is cloaking a criminal investigation under

   the mantle of a normal tax examination. As the District Court

   explained, High Desert “alleges no facts by which this Court could



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   conclude that the IRS was investigating a purported violation of the

   CSA for purposes of a criminal investigation.” (App. 434) (emphasis in

   original). High Desert has not corrected this factual vacuum at the

   center of its argument on appeal. High Desert’s unsupported

   suppositions are insufficient to show that the District Court erred in

   concluding that the IRS had a legitimate purpose. Balanced Fin.

   Mgmt., 769 F.2d at 1444 (allegations are “insufficient if conclusionary”)

   (citations omitted).

         As this Court has explained (albeit in a different context), “the

   IRS’s obligation to determine whether and when to deny deductions

   under § 280E falls squarely within its authority under the Tax Code.”

   Green Solution Retail, Inc. v. United States, 855 F.3d 1111, 1121 (10th

   Cir. 2017).9 The IRS has the authority to determine, in connection with

   its audit of plaintiffs’ tax returns, whether plaintiffs’ business consists

   of trafficking in controlled substances in violation of the Controlled


         9 Although this Court held that it lacked subject matter
   jurisdiction to rule on the argument that “the IRS exceeded its
   authority under the Internal Revenue Code” when investigating
   whether a marijuana dispensary came within the scope of Section 280E,
   see Green Solution, 855 F.3d at 1121 n.8, the statutory analysis set
   forth in that case is fatal to High Desert’s contentions here.



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   Substances Act. See Alpenglow, 2016 WL 7856477, at *3-4 (“the real

   issue here is whether the IRS has authority to determine if, in the

   course of plaintiffs’ business, they regularly bought or sold marijuana.

   The Court cannot understand why not.”). The IRS has the authority “to

   make the inquiries, determinations, and assessments of all taxes . . .

   imposed by this title.” I.R.C. § 6201(a). Moreover, it is specifically

   authorized to require testimony and the production of documents for the

   purpose of determining the liability of any person for any internal

   revenue tax. See I.R.C. § 7602(a).

         Congress has placed Section 280E in the Internal Revenue Code,

   and, therefore, the IRS is authorized to determine in a particular case

   whether this provision applies. See Alpenglow, 2016 WL 7856477, at *4

   (“Section 280E is placed in the Internal Revenue Code . . . [and it] would

   certainly be strange if the Internal Revenue Service was not charged

   with enforcing that provision.”) (emphasis in original). Since the

   applicability of I.R.C. § 280E turns on whether the taxpayer’s business

   consists of illegal trafficking in controlled substances, the IRS, as part

   of its authority to enforce the provisions of the Internal Revenue Code,

   necessarily has the authority to investigate whether the taxpayer’s



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   business implicates Section 280E. See Green Solution, 855 F.3d at

   1121; Olive v. Commissioner, 792 F.3d 1146, 1150 (9th Cir. 2015)

   (upholding tax deficiency for medical marijuana dispensary based upon

   the application of I.R.C. § 280E); Alpenglow, 2016 WL 7856477, at *3-4;

   Canna Care, Inc. v. Commissioner, 110 T.C.M. (CCH) 408 (2015), aff’d

   on other grounds, 694 F. App’x 570 (9th Cir. 2017); Beck v.

   Commissioner, 110 T.C.M. (CCH) 141 (2015); Californians Helping to

   Alleviate Med. Problems, Inc. v. Commissioner, 128 T.C. 173, 182–83

   (2007).

         Moreover, an investigation under Section 280E is not criminal in

   nature. As this Court has observed, “§ 280E has no requirement that

   the Department of Justice conduct a criminal investigation or obtain a

   conviction before § 280E applies.” Green Solution, 855 F.3d at 1121. As

   the District Court explained in this case (App. 433), “Section 280E is a

   civil statute, and an investigation into a suspected violation of Section

   280E . . . requires no ‘outside,’ ‘criminal,’ or ‘pseudo-criminal’

   determination or investigation of a violation of the CSA.” The

   Alpenglow court similarly observed that the “fact that selling marijuana

   may also constitute a violation of the CSA is simply a byproduct of



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   § 280E using the CSA’s definition of ‘controlled substances.’” 2016 WL

   7856477, at *4. Even assuming that “§ 280E requires the IRS to find

   that a crime has been committed . . ., this does not transform the IRS’s

   determination that § 280E applies into a criminal investigation, a

   criminal prosecution, or somehow the rendering of a criminal verdict.”

   Id.

         High Desert thus badly misses the mark when it claims that a tax

   examination involving the applicability of Section 280E is a criminal

   investigation and lacks a legitimate purpose that could justify

   enforcement of a summons. On a more general level, High Desert errs

   in asserting that an IRS examination must shy away from determining

   whether an individual or business is engaged in illegal conduct, even

   where that conduct has tax implications. The Supreme Court long ago

   held that income from illegal sources is just as taxable as income from

   legitimate sources. See United States v. Sullivan, 274 U.S. 259 (1927);

   James v. United States, 366 U.S. 213 (1961). Thus, the notion that the

   IRS has no authority to investigate illegal conduct for the purpose of

   determining the correct tax liability of the persons involved in such

   conduct is absurd. Further, multiple provisions of the Code require



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   precisely such predicate determinations. See, e.g., I.R.C. § 162(c)

   (denial of deductions for “[i]llegal bribes, kickbacks, and other

   payments”); I.R.C. § 165(e) (permitting a deduction for theft loss, which

   has been interpreted by 26 C.F.R. (Treas. Reg.) § 1.165-8 (2016) to

   include losses arising out of “larceny, embezzlement, and robbery”);

   I.R.C. § 6663 (imposing a civil tax penalty for fraud).

         2.    High Desert fares no better as to its assertion that the

   information sought is already in the possession of the IRS. (Br. 20–22.)

   High Desert principally argues that the IRS’s refusal to agree to its

   offer to provide such information – subject to restrictions on its use –

   demonstrates bad faith that requires an evidentiary hearing. (Br. 20–

   21.) But there is no dispute that the IRS did not have the documents

   sought at the time the summonses were issued. This is dispositive for

   purposes of the relevant Powell factor, which merely asks whether the

   information sought is already within the Commissioner’s possession.

         In any event, High Desert is incorrect that the IRS’s decision not

   to accept its offer shows bad faith. As the District Court noted, High

   Desert offered to provide certain documents, but only if “we are given

   the assurance from the IRS, that the IRS will use the information



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   furnished for this civil audit, and not to support the IRS’s determination

   that the Taxpayer’s business consists of illegal activities.” (App. 438–

   39, quoting App. 79.) This condition was neither lawful nor practicable.

   First, as the District Court explained (App. 439), the IRS could not

   agree to such a condition, because I.R.C. § 6103(i) requires the IRS to

   turn over documents received from taxpayers to other federal agencies

   in certain circumstances. Moreover, High Desert’s condition was a

   plain attempt to preclude the IRS’s investigation as to Section 280E,

   which bars deductions and credits from businesses that consist of

   trafficking in a controlled substances “prohibited by Federal law or the

   law of any State in which such trade or business is conducted.” If the

   IRS had agreed to High Desert’s proposal, it ostensibly would not have

   been able to use any of the documents it obtained to determine the

   applicability of Section 280E. The IRS was under no obligation to

   circumscribe its examination – or to ignore statutory complications – in

   order to obtain relevant documents.10


         10 It should be further noted that even if High Desert had provided

   its own copies of summoned records, the Government would still be
   entitled to summon those same documents from the original sources in
   order to compare them and ensure their accuracy. E.g., Liberty Fin.
                                                            (continued…)

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         3.    High Desert next claims that the IRS failed to comply with

   all required administrative steps, the fourth factor in Powell, asserting

   that Revenue Agent Turk failed to provide proper notice under I.R.C.

   § 7602(c)(1) before contacting any third parties. (Br. 23.)

   Section 7602(c)(1) states that during an IRS examination, the IRS “may

   not contact any person other than the taxpayer with respect to the

   determination or collection of the tax liability of such taxpayer without

   providing reasonable notice in advance to the taxpayer that contacts

   with persons other than the taxpayer may be made.” “The purpose of

   the advance notice Congress required in Section 7602(c) is to give the

   taxpayer an opportunity to volunteer information and resolve issues

   with the IRS before third parties are contacted.” Thompson v. United

   States, No. H-08-1277, 2008 WL 4279474, at *6 (S.D. Tex. Sept. 11,

   2008) (citing United States v. Jillson, 84 A.F.T.R.2d 7115 (S.D. Fla.

   1999)).




   (…continued)
   Svcs. v. United States, 778 F.2d 1390, 1393 (9th Cir. 1985) (IRS is
   “entitled to compare for accuracy” the same records held by different
   parties).



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         As the District Court held (App. 439–40), the IRS provided

   sufficient advance notice to satisfy I.R.C. § 7602(c). When Revenue

   Agent Turk initiated the examination into High Desert in February

   2016, she provided a copy of IRS Publication 1, Your Rights as a

   Taxpayer (Rev. 12-2014), available at https://www.irs.gov/pub/irs-

   pdf/p1.pdf. (Id.) This publication specifies that, during an examination,

   the IRS will “sometimes talk with other persons if we need information

   that you have been unable to provide, or to verify information we have

   received.” Id. In a subsequent telephone conference with one of High

   Desert’s shareholders, Revenue Agent Turk also “explain[ed] taxpayer’s

   rights as outlined in Publication 1.” (App. 340.) And, as the District

   Court further noted, Revenue Agent Turk again transmitted a copy of

   Publication 1 to High Desert in May 2016. (App. 440.)

         Although High Desert contends that the “use of Publication 1 . . .

   is insufficient,” it fails to cite any support for that argument. (Br. 23.)

   Section 7602(c)(1) requires only that a taxpayer receive “reasonable

   notice in advance . . . that contacts with persons other than the

   taxpayer may be made,” and that is exactly what Publication 1

   provides. The District Court therefore correctly concluded (App. 440)



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   that “the IRS complied with the requirement of Section 7602(c)(1), and

   Powell’s fourth factor, to provide reasonable notice in advance that it

   may contact persons other than [High Desert.]” See also Gandrup v.

   United States, No. 14-123-SLR, 2014 WL 5861719, at *2 (D. Del.

   Nov. 12, 2014); Gangi v. United States, 2 F. Supp. 3d 12, 21-22 (D.

   Mass. 2014), aff’d, 638 F. App’x 16 (1st Cir. 2016); Highland Capital

   Mgmt., 51 F. Supp. 3d 544, 551 (S.D.N.Y. 2014), aff’d on other grounds,

   626 F. App’x 324 (2d Cir. 2015); Hunkler v. United States, No. 1:14 CV

   356, 2014 WL 3810390, at *2 (N.D. Ohio Jul. 31, 2014); Anderson v.

   United States, No. MC-12-12-BLG, 2013 WL 1747796, at *1, *5 (D.

   Mont. Apr. 23, 2013), report and recommendation adopted, 2013 WL

   2181041 (D. Mont. May 20, 2013); Hernandez v. United States, No. CV-

   10-MC-9181, 2010 WL 5292339, at *2 (D. Or. Dec. 17, 2010); Clearwater

   Consulting Concepts, LLLP v. United States, Nos. 2007-33 & 2007-34,

   2010 WL 2392107, at *4–5 (D. V.I. Mar. 31, 2010); Thompson, 2008 WL

   4279474, at *5–6.11


         11 As indicated above, the district courts repeatedly have
   concluded that transmission of Publication 1 satisfies the notice
   requirement of I.R.C. § 7602(c)(1). Recently, however, the Northern
   District of California quashed an IRS summons on the ground that
                                                                (continued…)

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         4.    Finally, High Desert argues that the CSA has become a

   “dead letter,” no longer enforced by the federal government, and that

   “the IRS cannot deny deductions for violations of laws for which there is

   an official policy of non-enforcement.” (Br. 24.) High Desert contends

   that “any technical violation of the CSA by a dispensary operating in

   conformance with state law is a ‘dead letter’” (id.), such that the IRS

   cannot deny deductions pursuant to Section 280E, or apparently even

   investigate to see whether that provision applies. Cf. Clarke, 134 S. Ct.

   at 2367 (“The purpose of a summons is not to accuse, much less to

   adjudicate, but only to inquire.”). High Desert is wrong on multiple

   levels.12



   (…continued)
   Publication 1 did not satisfy this requirement. That ruling is devoid of
   textual or historical support, and the United States is challenging it on
   appeal. See Baxter v. United States, No. 15-cv-04764, 2016 WL 468034
   & 2016 WL 1359413 (N.D. Cal. Feb. 2, 2016 & Apr. 8, 2016), appeals
   pending, Nos. 16-15999 & 16-16021 (9th Cir. filed Jun. 3, 2016 & Jun.
   7, 2016).
         12 At the beginning of this argument (Br. 23), High Desert asserts

   that the IRS had a practice of “wait[ing] to investigate tax liability
   relating to a criminal activity until a conviction on the underlying
   criminal activity occurred.” In support of this position, High Desert
   cites to a case involving an addition to tax for fraud, Franklin v.
   Commissioner, 65 T.C.M. (CCH) 2497 (1993), and a case involving
                                                                (continued…)

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         As an initial matter, High Desert seeks to add a limitation to

   Section 280E that Congress did not provide, ignoring the plain

   statutory text. As explained above, Section 280E is not contingent on a

   criminal conviction for a violation of the Controlled Substances Act. See

   Green Solution, 855 F.3d at 1121. To the contrary, Section 280E merely

   disallows a deduction for businesses that consist of trafficking in

   controlled substances, as defined (and prohibited) by the Controlled

   Substances Act. The enforcement, or non-enforcement, of the

   Controlled Substances Act itself thus is irrelevant to whether

   Section 280E applies. Of course, Congress could have conditioned the

   validity of Section 280E on enforcement efforts relating to the

   Controlled Substances Act. Section 162(c)(2), for example, disallows


   (…continued)
   unreported income from drug smuggling, Browning v. Commissioner, 61
   T.C.M. (CCH) 2053 (1991). Although the Commissioner in both cases
   used previous criminal proceedings to establish the predicates for
   certain Code provisions, neither case suggests that the Commissioner
   was required to wait, as a matter of practice or law, on the conclusion of
   criminal proceedings to conduct a civil investigation into the taxpayer’s
   tax liabilities. In any event, as this Court observed in Green Solution,
   855 F.3d at 1121, and as the District Court noted in Alpenglow, 2016
   WL 7856477, at *4, a criminal conviction plainly is not required for
   Section 280E to apply, a fact that wholly undermines the relevance of
   High Desert’s contention.



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   deductions for illegal payments “under any law of a State (but only if

   such State law is generally enforced) . . . .” Section 280E, however,

   contains no such exception for any lack of enforcement of the Controlled

   Substances Act, rendering High Desert’s argument wholly irrelevant.

         Nor is High Desert correct that there is a general “dead letter”

   rule to the effect that the IRS cannot deny deductions for businesses

   that violate laws as to which there is a policy of non-enforcement. High

   Desert concocts this proposition from a single district court case from

   1964, which merely applied the “public policy exception” to the then-

   current version of the deduction for ordinary and necessary business

   expenses. See Sterling Distribs. v. Patterson, 236 F. Supp. 479 (N.D.

   Ala. 1964).

         The “public policy exception” was a common-law limitation to the

   business-expense deduction where “allowance of the deduction would

   frustrate sharply defined national or state policies proscribing

   particular types of conduct, evidenced by some governmental

   declaration thereof.” Tank Truck Rentals, Inc. v. Commissioner, 356

   U.S. 30, 33-34 (1958). The exception has effectively been superseded by

   the enactment of Section 162 and its regulations, which more precisely



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   define when deductions relating to illegal activities will be disallowed.

   See, e.g., I.R.C. § 162(c)(2) (“No deduction shall be allowed under

   subsection (a) for any payment (other than a payment described in

   paragraph (1)) made, directly or indirectly, to any person, if the

   payment constitutes an illegal bribe, illegal kickback, or other illegal

   payment under any law of the United States, or under any law of a

   State (but only if such State law is generally enforced), which subjects

   the payor to a criminal penalty or the loss of license or privilege to

   engage in a trade or business.”) Treas. Reg. § 1.162-1(a) (1985) (a

   “deduction for an expense paid or incurred after December 30, 1969,

   which would otherwise be allowable under section 162 shall not be

   denied on the grounds that allowance of such deduction would frustrate

   a sharply defined public policy.”).

         Even to the extent that the common-law exception continues to be

   invoked in a few narrow cases (Br. 28), such cases have no bearing on

   Section 280E, where Congress has staked out the metes and bounds of

   the disallowance on deductions and credits. While Congress made a

   policy decision not to grant the benefit of deductions or credits to

   businesses that consist of trafficking in controlled substances, this does



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   not support High Desert’s attempt to import interpretations of the

   common law public-policy exception into the analysis of Section 280E.

         The single case on which High Desert builds its rule, moreover, is

   merely a fact-specific application of the pre-162(c)(2) public policy

   exception, and does not have any broader scope. In Sterling

   Distributors, a wholesale beer distributor claimed business expense

   deductions relating to the gifting of beer to retail outlets to encourage

   purchase of its products. 236 F. Supp. at 481–82. The practice was not

   allowed under state law, and the IRS claimed that the deductions

   should be disallowed as frustrating a sharply defined state policy. Id.

   at 482. Based upon the testimony of witnesses at trial, the district

   court concluded that the state law was not enforced and, in fact, had

   become a dead letter, and permitted the deduction. Id. at 483–84.

   Sterling Distributors has no relevance to Section 280E.

         High Desert fares no better with its assertion that the “rule

   announced by the Sterling Distributors court has been generally

   accepted.” (Br. 24). In particular, High Desert relies on Brown v.

   Commissioner, 63 T.C.M. (CCH) 1866 (1992), and Boucher v.

   Commissioner, 77 T.C. 214, 217–18 (1981). Both of those cases involve



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   I.R.C. 162(c)(2), which, as discussed above, explicitly requires that a

   state law be generally enforced for disallowance of a deduction. In other

   words, those cases merely involve the analysis required by the

   particular statutory provision at issue there. Section 280E does not

   contain the same requirement.

         Furthermore, High Desert is wrong that the Controlled

   Substances Act is a dead letter. (Br. 23–24, 25–26.) As this Court has

   observed, although “two consecutive Deputy Attorneys General have

   issued memoranda encouraging federal prosecutors to decline

   prosecutions of state-regulated marijuana dispensaries in most

   circumstances,” “in our constitutional order it’s Congress that passes

   the law, Congress that saw fit to enact 21 U.S.C. § 841, and Congress

   that in § 841 made the distribution of marijuana a crime.” Feinberg v.

   Commissioner, 808 F.3d 813, 816 (10th Cir. 2015). Absent

   Congressional action to the contrary, the Controlled Substances Act

   remains the law.




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                                 CONCLUSION

         The orders of the District Court should be affirmed.

              STATEMENT REGARDING ORAL ARGUMENT

         Counsel for the Government respectfully inform the Court that

   oral argument is not essential but may be helpful to this Court in

   resolving this appeal.

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   OCTOBER 2017




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       CERTIFICATE OF SERVICE AND DIGITAL SUBMISSION

         I hereby certify that on October 25, 2017, I electronically filed the
   foregoing using the court’s CM/ECF system which will send notification
   of such filing to the following:

                     Mr. James D. Thorburn: jdt@thorburnlaw.com;
                     Mr. Richard Walker: rwalker@thorburnwalker.com.

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